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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT ILLINOIS
                              EASTERN DIVISION

UNITED STATES SECURITIES AND                     )
EXCHANGE COMMISION,                              )
                                                 )
                         Plaintiff,              )          Case No. 1:10-CV-00115
            v.                                   )
                                                 )          Hon. Robert M. Dow Jr.
STEVEN W. SALUTRIC,                              )
                                                 )
                         Defendant.              )

                 APPLICATION OF RECEIVER FOR PAYMENT OF
                  ADMINISTRATIVE FEES AND EXPENSES FOR
                   THE PERIOD FEBRUARY 1, 2010 THROUGH
                               JULY 31, 2010

       Ira Bodenstein, the Court appointed Receiver, (the “Receiver”) over all assets

under the possession, custody or control of Steven W. Salutric, pursuant to LR 66.1 and

the Billing Instructions for Receivers in Civil Actions Commenced by the U.S. Securities

and Exchange Commission, (the “Billing Instructions”) moves for the entry of an order

authorizing the administrative fees and expenses incurred for the period of February 1,

2010 through July 31, 2010 (the “Fee Period”) and allowing for the payment thereof as

set forth in the Application. In support of this Application, the Receiver respectfully

represents as follows:


                                      INTRODUCTION

       1.        This action was commenced by the Securities Exchange Commission

(“SEC”) against Steven W. Salutric, who is alleged to have engaged in acts in violation

of the Securities Exchange Act of 1934 and Investment Advisors Act of 1940.

       2.        The SEC complaint was filed January 8, 2010. [Docket No. 1].

       3.        On February 8, 2010, the Court entered its Order Appointing Receiver

[Docket No. 51] (the “Appointment Order”).            Pursuant to Section III(D) of the
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Appointment Order the Receiver is required to submit an application in conformance

with the Billing Instructions for payment of all costs, fees and expenses incurred by the

Receiver and all persons who are engaged or employed by the Receiver. On July 14,

2010, the Court entered its supplemental Order Appointing Receiver (the “Supplemental

Order”) [Docket No. 111].

        4.       On February 16, 2010 the Receiver filed his Preliminary Plan of Activities

and Budget Estimate (the “Preliminary Plan”). On April 8, 2010, the Receiver filed his

First Report of Acts and Transactions and Initial Inventory of Assets (the “First Report”)

[Docket No. 81]. On July 7. 2010, the Receiver filed his Second Report of Acts and

Transactions and Initial Inventory of Assets (the “Second Report”) [Docket No. 81]. For

purposes of this motion, the Receiver incorporates the Preliminary Plan, the First Report

and the Second Report.

        5.       During the Fee Period, the Receiver, in compliance with the Appointment

Order has taken possession and control of Receivership Assets totaling $69,293.81 and

made disbursements from those assets totaling $72.38 leaving $69,221.43 in

unencumbered funds available to pay the allowed fees and costs of the Receiver.1 Other

than the unpaid fees and costs of the Receiver, there are no other administrative expenses

of the receiver estate. Attached as Exhibit A is the standardized Fund Accounting Report

for the period of 2/1/2010 through 7/31/2010 which contains the details of the receipts

and disbursements during the Fee Period.

        6.       The Receiver seeks approval of the fees and expenses of the Receiver and

the Receiver’s counsel for the Fee Period.             This is the first interim request of the


1
 Of the amount received $63,771.00 was a royalty distribution from Falcon Picture Group, LLC to
Celluloid Distribution, LLC, an entity in which Salutric owns a 55% membership interest.


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Receiver. Payment of the approved fees and expenses will be made from the funds

currently held by the Receiver. The fees and expenses for which approval is requested

are set forth in detail in the invoice attached hereto as Exhibit B. Attached hereto as

Exhibit C is a summary containing the names, hourly rates and number of hours for

which compensation is sought during the Fee Period of the Receiver and the Receiver’s

counsel.

        7.       For this first interim application, the fees and expenses of the Receiver and

Receiver’s counsel are as follows: Receiver’s fees of $50,362.50, fees of Receiver’s

counsel of $29,355 and out of pocket expenses of $1,050.67. During the Fee Period, the

Receiver has incurred a total of $80,867.17 in fees and expenses. Although the Receiver

seeks approval of all fees and expenses incurred during the Fee Period, the Receiver only

seeks authority to pay a total of $51,050.67 from the funds in the Receivership estate.

This amount represents payment of 100% ($1,050.67) of the Receiver’s out of pocket

expenses and 62% ($50,000) of the fees of the Receiver and Receiver’s counsel. The

additional allowed amount of $29,717.50 will be a holdback to be paid to the Receiver

once sufficient funds are available in the receivership estate and subject to further order

of this Court.

        8.       During the Fee Period and as set forth in detail in the Preliminary Plan,

First Report, Second Report and Exhibit B, the Receiver and his counsel engaged in legal

and administrative activities relating to the receivership estate, including the following:

             (i.)    Meetings with SEC counsel, counsel for Salutric, counsel for the

                     Results One entities and Carl Amari and his counsel to obtain and




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                      review documents and information concerning assets and property of

                      the receivership estate;

              (ii.)   Conducted inspections of the offices of the Results One entities to

                      obtain possession of the records and certain personal property of

                      Salutric;

             (iii.)   Reviewed thousands of pages of documents to identify potential assets

                      and property of the receivership estate;

              (iv.)   Prepared an inventory and liquidated certain assets and property of the

                      receivership’s estate; and

              (v.)    Prosecuted the Receiver’s Stay Motion and obtained an order from this

                      Court staying the prosecution all pending and future action against

                      Salutric and the execution of any judgments entered against Salutric.

        9.        Under the provisions of the Supplemental Order, the Receiver shall seek

approval of a claims verification, filing and allowance procedure only after there is a

determination that sufficient assets exist to justify creation of such procedure. At present,

sufficient assets do not exist.

        10.       Pursuant to LR 66.1(a)(1), the court shall have discretion to fix the

allowance of compensation of the Receiver and his attorneys. The Receiver has served

all parties who have filed appearances in this case with a copy of the Motion and all

Exhibits by electronic mail through the court noticing system. The Receiver has also

served all parties who own membership interests in Celluloid Distribution, LLC by the

means indicated in the Certificate of Service. The Receiver believes that under the

circumstances such notice is sufficient.




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        11.       In support of this Motion and in compliance with the Billing Instructions

the Certification of the Receiver is attached hereto as Exhibit D.

        12.       In light of the extensive work performed, it is respectfully submitted that

the fees and expenses of the Receiver and his counsel are reasonable and should be

approved as set forth herein.

        WHEREFORE, the Receiver prays that this court enter an Order as follows:

                  1.      Approving and confirming for payment, the fees and expenses of

        the Receiver in the amount of $80,768.17.

                  2.      Authorizing the Receiver to pay $51,050.67 from the funds in the

        receivership estate.

                  3.      Approving the procedure for notice by serving all parties who have

        appeared in this case through the courts electronic noticing system.

                  4.      For such other and further relief as the Court may deem just and

        proper.


Dated: September 16, 2010                          Respectfully submitted,

                                                   IRA BODENSTEIN, not individually,
                                                   but solely as Receiver of Steven W.
                                                   Salutric


                                                   /s/Ira Bodenstein
                                                   One of his attorneys
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